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   1   KASOWITZ BENSON TORRES LLP
   2
       Kirsten C. Jackson (Cal. Bar No. 265952)
       kjackson@kasowitz.com
   3   Melissa Dejoie (Cal. Bar No. 308014)
   4
       mdejoie@kasowitz.com
       2029 Century Park East, Suite 2000
   5   Los Angeles, California 90067
   6   Telephone: (424) 288-7900
       Facsimile: (424) 288-7901
   7

   8   Attorneys for Defendant New York Life Insurance Company

   9

  10                       UNITED STATES DISTRICT COURT
  11                      CENTRAL DISTRICT OF CALIFORNIA

  12    FRANKIE MITCHELL, an individual;          Case No. 2:20-cv-01789-MCS-AGR
  13
                     Plaintiff,
  14                                              DEFENDANT NEW YORK LIFE
              vs.                                 INSURANCE COMPANY’S
  15
                                                  MEMORANDUM OF
  16    NEW YORK LIFE INSURANCE                   CONTENTIONS OF FACT AND
        COMPANY,                                  LAW
  17

  18                 Defendant.                   Final Pretrial Conference Date: June 7,
  19                                              2021
  20                                              Final Pretrial Conference Hearing
  21                                              Time: 2:00 p.m.
  22
                                                  Judge: Hon. Mark C. Scarsi
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            NEW YORK LIFE’S MEMORANDUM OF CONTENTIONS OF FACT AND LAW
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   1         Defendant New York Life Insurance Company (“New York Life”) hereby
   2   submits its Memorandum of Contentions of Fact and Law pursuant to Local Rule 16-
   3   4.
   4                           CONTENTIONS OF FACT AND LAW
   5   I.    PLAINTIFF’S CLAIMS
   6         A.     Plaintiff’s Causes of Action
   7         Plaintiff has alleged causes of action for Breach of Contract and Declaratory
   8   Relief. Plaintiff’s claim for Breach of the Covenant of Good Faith and Fair Dealing
   9   was dismissed on March 16, 2021.
  10                (1)   Breach of Contract
  11         Elements
  12         Plaintiff must prove that a contract existed among the parties; Plaintiff
  13   performed its duties under the contract; Defendant failed to do something that the
  14   contract required; and Plaintiff was harmed by that failure. See California Civil Jury
  15   Instructions (“CACI”) 303. Plaintiff alleges that Defendant owed a duty to pay
  16   $100,000 in life insurance benefits under the policy contract.
  17         New York Life’s Evidence In Opposition
  18         New York Life contends that no valid contract existed. The forgery of Richard
  19   Stevens’ signature on the life insurance application renders the policy contract void
  20   ab initio. See Hon. H. Walter Croskey, et al., California Practice Guide: Insurance
  21   Litigation ¶ 5:328.11 (Rutter Group 2020); Paul Revere Life Ins. Co. v. Fima, 105
  22   F.3d 490, 492 (1997); Wutzke v. Bill Reid Painting Service, Inc., 151 Cal. App. 3d 36,
  23   43 (1984); see also La Jolla Group II v. Bruce, 211 Cal. App. 4th 461, 478 (2012);
  24   Schiavon v. Arnaudo Brothers, 84 Cal. App. 4th 374, 380 (2000); Arizona Central
  25   Credit Union v. Holden, 6 Ariz. App. 310, 313 (1967); Oaks v. Settlers Life Ins. Co.,
  26   Case No. 2009AP2061, 2010 WL 3665230 at *3 (Wis. App. Sept. 22, 2010). Forensic
  27   Document Examiner Jim Blanco has determined that the signatures submitted to New
  28   York Life were not consistent with, nor did they represent the natural, normal nor
                                           2
             NEW YORK LIFE’S MEMORANDUM OF CONTENTIONS OF FACT AND LAW
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   1   genuine handwriting characteristics of Richard Stevens as demonstrated by the
   2   signature on his license. Indeed, Mr. Blanco concluded that it is highly probable that
   3   Richard Stevens did not write the signatures on paperwork that was submitted to New
   4   York Life. Even without the Blanco declaration, a comparison of Mr. Stevens’ known
   5   signatures with the signatures submitted to New York Life reveals significant
   6   differences that are impossible to ignore:
   7   Known Signatures
   8    Arizona Drivers’ License
   9
        Globe Life Insurance Application
  10

  11

  12   Signatures Submitted to New York Life
  13    March 12, 2012
  14    December 6, 2013
  15
        December 22, 2014
  16

  17

  18
       New York Life is entitled to void the policy certificate based on forgeries. The life
  19
       insurance certificate was never in force.1
  20

  21         1
                New York Life is further entitled to judgment because Plaintiff cannot show
  22   an insurable interest in Richard Stevens’ life. The law provides that (1) an insurable
  23
       interest exists where individuals are “related closely by blood or by law,” Ariz. Rev.
       Stat. Ann. § 20-1104; Cal. Ins. Code §10110.1; (2) “an insurance policy is void ab
  24   initio where the insured lacks an insurable interest,” and as such, “may be contested
  25
       at any time, even after the incontestability period has expired,” Paul Revere Life Ins.
       Co. v. Fima, 105 F.3d 490, 492 (9th Cir. 1997); and (3) “the burden of proving
  26   insurable interest [is] on the party asserting coverage under the insurance policy,”
  27
       Zurich Life Ins. Co. of America v. Zoo Stage, Inc., 186 Fed. App’x. 768, 768-69 (9th
       Cir. 2006).
  28

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             NEW YORK LIFE’S MEMORANDUM OF CONTENTIONS OF FACT AND LAW
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   1         New York Life is alternatively entitled to rescind the life insurance policy on
   2   the basis of misrepresentations in the application of insurance. The policy is
   3   contestable for two years following reinstatement based on misrepresentations in the
   4   application. See Cal. Ins. Code § 10113.5; Ariz. Rev. Stat. § 20-1204; North
   5   American Co. for Life and Health Ins. v. Rypins, 29 F.Supp.2d 619, 623 (N.D. Cal.
   6   1998); Greves v. Ohio State Life Ins. Co., 170 Ariz. 66, 70, 821 P.2d 757, 761 (1991).
   7   The application misrepresented the sibling relationship between Mr. Stevens and Ms.
   8   Mitchell. Plaintiff admits that Mr. Stevens and Ms. Mitchell are not biologically or
   9   legally related. Because Richard Stevens died less than two years following the
  10   reinstatement of the life insurance certificate, New York Life is entitled to rescind
  11   coverage based on the misrepresentation in the application that Mr. Stevens and Ms.
  12   Mitchell were related.
  13                   (2)   Declaratory Relief
  14         Elements
  15         An actual controversy relating to the legal rights and duties of the parties under
  16   a written instrument; and a request that the rights and duties of the parties be adjudged
  17   by the court.
  18   II.   NEW YORK LIFE’S AFFIRMATIVE DEFENSES
  19         A.        FIRST AFFIRMATIVE DEFENSE
  20         The Complaint, including each purported claim for relief set forth therein, fails
  21   to state a claim upon which relief can be granted against Defendant. For the reasons
  22   stated above, no valid contract existed. The forgery of Richard Stevens’ signature on
  23   the life insurance application renders the policy contract void ab initio. New York
  24   Life is alternatively entitled to rescind the life insurance policy on the basis of
  25   misrepresentations in the application of insurance.
  26         B.        SECOND AFFIRMATIVE DEFENSE
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             NEW YORK LIFE’S MEMORANDUM OF CONTENTIONS OF FACT AND LAW
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   1         Plaintiff’s bad faith claim was dismissed on March 16, 2021. In any event, the
   2   damages alleged in the Complaint by Plaintiff occurred, were proximately caused by,
   3   and/or were contributed to by Plaintiff’s own acts or failures to act.
   4         C.     THIRD AFFIRMATIVE DEFENSE
   5         Plaintiff’s bad faith claim was dismissed on March 16, 2021. In any event,
   6   Plaintiff, by his conduct or otherwise, has waived or is estopped from asserting any
   7   bad faith conduct on the part of Defendant.
   8         D.     FOURTH AFFIRMATIVE DEFENSE
   9         Plaintiff’s bad faith claim was dismissed on March 16, 2021. In any event,
  10   Plaintiff is entirely or, in the alternative, partially barred from any recovery because
  11   of his failure to take reasonable and necessary steps to mitigate his alleged damages.
  12         E.     FIFTH AFFIRMATIVE DEFENSE
  13         Plaintiff’s bad faith claim was dismissed on March 16, 2021. In any event, the
  14   damages alleged to have been suffered by Plaintiff were proximately caused by or
  15   contributed to by acts or failures to act of persons other than this answering Defendant,
  16   which acts or failures to act constitute an intervening and superseding cause of the
  17   damages alleged in the Complaint.
  18         F.     SIXTH AFFIRMATIVE DEFENSE
  19         Plaintiff’s bad faith claim was dismissed on March 16, 2021. In any event, the
  20   causes of action and/or relief sought should be barred and/or precluded by virtue of
  21   Plaintiff’s failure to cooperate during the claim investigation.
  22         G.     SEVENTH AFFIRMATIVE DEFENSE
  23         The causes of action and/or relief sought should be barred and/or precluded
  24   pursuant to the express terms and conditions contained in the subject contract,
  25   including but not limited to the life insurance certificate’s contestability provision.
  26         H.     EIGHTH AFFIRMATIVE DEFENSE
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             NEW YORK LIFE’S MEMORANDUM OF CONTENTIONS OF FACT AND LAW
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   1         Plaintiff’s claim is barred, in whole or in part, by Plaintiff’s failure to comply
   2   with the provisions of the subject contract, including but not limited to the life
   3   insurance certificate’s contestability provision.
   4         I.     NINTH AFFIRMATIVE DEFENSE
   5         Plaintiff is barred from any recovery based on misrepresentations made in
   6   connection with the claim for insurance benefits. The application misrepresented the
   7   sibling relationship between Mr. Stevens and Ms. Mitchell. Plaintiff now admits that
   8   Mr. Stevens and Ms. Mitchell are not biologically or legally related. This is grounds
   9   for rescission. See Cal. Ins. Code § 10113.5; Ariz. Rev. Stat. § 20-1204; North
  10   American Co. for Life and Health Ins. v. Rypins, 29 F.Supp.2d 619, 623 (N.D. Cal.
  11   1998); Greves v. Ohio State Life Ins. Co., 170 Ariz. 66, 70, 821 P.2d 757, 761 (1991).
  12         J.     TENTH AFFIRMATIVE DEFENSE
  13         The Complaint, and each of its alleged causes of action, is barred by the
  14   doctrines of waiver, estoppel, unclean hands, unjust enrichment, and/or laches.
  15         K.     ELEVENTH AFFIRMATIVE DEFENSE
  16         Plaintiff’s bad faith claim was dismissed on March 16, 2021. In any event,
  17   Plaintiff’s claim for extra-contractual damages is barred by the provisions of
  18   California Insurance Code Section 10111.
  19         L.     TWELFTH AFFIRMATIVE DEFENSE
  20         Plaintiff’s bad faith claim was dismissed on March 16, 2021, and thus it has no
  21   basis to claim attorneys’ fees. In any event, Plaintiff’s claim for attorneys’ fees is
  22   barred by the provisions of California Code of Civil Procedure Section 1021.
  23         M.     THIRTEENTH AFFIRMATIVE DEFENSE
  24         Plaintiff’s bad faith claim was dismissed on March 16, 2021, and thus it has no
  25   basis to claim punitive damages. In any event, Plaintiff’s alleged claim for punitive
  26   damages is barred by the provisions of California Civil Code Sections 3294 and 3295.
  27         N.     FOURTEENTH AFFIRMATIVE DEFENSE
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             NEW YORK LIFE’S MEMORANDUM OF CONTENTIONS OF FACT AND LAW
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   1         Plaintiff’s bad faith claim was dismissed on March 16, 2021, and thus it has no
   2   basis to claim punitive damages. In any event, Plaintiff’s claim for punitive damages
   3   is barred by the Fourteenth Amendment procedural due process provision of the
   4   Constitution of the United States of America and/or the Article 1, § 7 procedural due
   5   process provision of the Constitution of the State of California.
   6         O.     FIFTEENTH AFFIRMATIVE DEFENSE
   7         Plaintiff’s bad faith claim was dismissed on March 16, 2021, and thus it has no
   8   basis to claim punitive damages. In any event, Plaintiff’s claim for punitive damages
   9   is barred by the Article 1, § 17 excessive fines provision of the Constitution of the
  10   State of California.
  11         P.     SIXTEENTH AFFIRMATIVE DEFENSE
  12         Plaintiff’s bad faith claim was dismissed on March 16, 2021, and thus it has no
  13   basis to claim punitive damages. In any event, Plaintiff’s claim for punitive damages
  14   is barred by the Article 1, § 10 contracts clause of the Constitution of the United States
  15   of America and/or the Article 1, § 9 contracts clause of the Constitution of the State
  16   of California.
  17         Q.     SEVENTEENTH AFFIRMATIVE DEFENSE
  18         Plaintiff’s bad faith claim was dismissed on March 16, 2021, and thus it has no
  19   basis to claim punitive damages. In any event, any punitive damages must be
  20   reasonable in terms of the guideposts established by the United States Supreme Court
  21   in BMW of North America, Inc. v. Gore, 517 U.S. 559, 116 S. Ct. 1589, 134 L. Ed. 2d
  22   809 (1996), and refined in State Farm Mut. Auto. Ins. Co. v. Campbell, 538 U.S. 408,
  23   123 S. Ct. 1513, 155 L. Ed. 2d 585 (2003) pertaining to: (1) the degree of
  24   reprehensibility of Defendant’s conduct; (2) the actual harm inflicted; and (3) the civil
  25   or criminal penalties that could be imposed for comparable conduct.
  26         R.     EIGHTEENTH AFFIRMATIVE DEFENSE
  27         Plaintiff’s bad faith claim was dismissed on March 16, 2021. In any event,
  28   Plaintiff’s claim for bad faith is barred by the genuine dispute doctrine.
                                           7
             NEW YORK LIFE’S MEMORANDUM OF CONTENTIONS OF FACT AND LAW
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   1          S.    NINETEENTH AFFIRMATIVE DEFENSE
   2          Plaintiff’s bad faith claim was dismissed on March 16, 2021. In any event,
   3   Defendant continues to act in good faith.
   4          T.    TWENTIETH AFFIRMATIVE DEFENSE
   5          Plaintiff’s claims are barred by a lack of insurable interest, rendering the policy
   6   void from its inception. Plaintiff cannot show an insurable interest in Richard
   7   Stevens’ life. The law provides that (1) an insurable interest exists where individuals
   8   are “related closely by blood or by law,” Ariz. Rev. Stat. Ann. § 20-1104; Cal. Ins.
   9   Code §10110.1; (2) “an insurance policy is void ab initio where the insured lacks an
  10   insurable interest,” and as such, “may be contested at any time, even after the
  11   incontestability period has expired,” Paul Revere Life Ins. Co. v. Fima, 105 F.3d 490,
  12   492 (9th Cir. 1997); and (3) “the burden of proving insurable interest [is] on the party
  13   asserting coverage under the insurance policy,” Zurich Life Ins. Co. of America v. Zoo
  14   Stage, Inc., 186 Fed. App’x. 768, 768-69 (9th Cir. 2006).
  15          U.    TWENTY-FIRST AFFIRMATIVE DEFENSE
  16          [Withdrawn].
  17   III.   EVIDENTIARY ISSUES
  18          New York Life filed motions in limine to (1) exclude evidence and argument
  19   regarding bad faith and claims handling practices, in light of the dismissal of
  20   Plaintiff’s bad faith claim on March 16, 2021, and (2) to permit testimony by
  21   handwriting expert Jim Blanco.
  22          Plaintiff filed motions in limine to (1) exclude evidence that was not disclosed
  23   during this action, and (2) exclude testimony by handwriting expert Jim Blanco.
  24   However, all evidence on which New York Life intends to rely at trial was properly
  25   disclosed in discovery and on summary judgment. Moreover, Plaintiff expressly
  26   declined to take any discovery regarding Mr. Blanco’s expert testimony.
  27   IV.    ISSUES OF LAW
  28          A.    Equitable Adoption
                                            8
              NEW YORK LIFE’S MEMORANDUM OF CONTENTIONS OF FACT AND LAW
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   1         Plaintiff “disputes” that the application misrepresented the sibling relationship
   2   between Mr. Stevens and Ms. Mitchell. Plaintiff admits that Mr. Stevens and Ms.
   3   Mitchell are not biologically or legally related. Instead, Plaintiff asserts that there was
   4   “an equitable adoption, done without any of the formal documents for a legal adoption
   5   in California.” Equitable adoption is a seldom-used probate court doctrine designed
   6   to allow foster children to inherit from a foster parent who dies intestate prior to
   7   completing all steps in a legal adoption. “The doctrine of equitable adoption is a
   8   narrow one . . . In addition to a contract or other direct evidence of the intent to adopt,
   9   the evidence must show objective conduct indicating mutual recognition of an
  10   adoptive parent and child relationship to such an extent that in equity and good
  11   conscience an adoption should be deemed to have taken place.” Estate of Ford, 32
  12   Cal.4th 160, 171-172 (2004).
  13         Importantly, the doctrine is limited to probate court: “The claimant in an
  14   equitable adoption case is seeking inheritance outside the ordinary statutory course of
  15   intestate succession and without the formalities required by the adoption statutes.” Id.
  16   No court has recognized a theory of “equitable adoption” in the context of insurance
  17   or to create a sibling relationship, and neither should this Court.
  18   V.    BIFURCATION
  19         Plaintiff’s bad faith tort claim was dismissed on March 16, 2021, and thus it
  20   has no basis to seek punitive damages. Only contract claims remain. And Civil Code
  21   Section 3294(a) expressly provides that punitive damages are only available “in an
  22   action for the breach of an obligation not arising from contract.”
  23         In any event, if there was a punitive damage phase, it should be bifurcated under
  24   Civil Code section 3295(d), which provides “the court shall, on application of any
  25   defendant, preclude the admission of evidence of that defendant’s profits or financial
  26   condition until after the trier of fact returns a verdict for plaintiff awarding actual
  27   damages and finds that a defendant is guilty of malice, oppression, or fraud in
  28   accordance with section 3294.”
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    1   VI.   JURY TRIAL
    2         Plaintiff has requested a jury trial.
    3   VII. ATTORNEYS’ FEES
    4         Plaintiff’s bad faith claim was dismissed on March 16, 2021, and thus it has no
    5   basis to seek attorneys’ (Brandt) fees. Brandt fees are not recoverable merely for
    6   breach of contract. See CCP § 1021; Cassim v. Allstate Ins. Co., 33 Cal. 4th 780, 806
    7   (2004); Griffin Dewatering Corp. v. Northern Ins. Co. of N.Y., 176 Cal. App. 4th 172,
    8   220 (2009).
    9

   10

   11   DATED: May 18, 2021              KASOWITZ BENSON TORRES LLP
   12
                                         By:    /s/ Kirsten C. Jackson
   13                                           Kirsten C. Jackson
   14
                                                Attorneys for Defendant

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              NEW YORK LIFE’S MEMORANDUM OF CONTENTIONS OF FACT AND LAW
